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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America, Case: 2:22-cr-20120
Judge: Parker, Linda V.
MJ: Grand, David R.

 

Plaintiff, Filed: 03-03-2022 At 04:00 PM a
INDI USAV CARLIEVE HORTON (LG)
Vv. VIVIAUULIS, LO UD. § FLL BIJUL)
CARLIEVE HORTON,
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 922(g)(1) — Felon in Possession of a Firearm
On or about October 19, 2021, in the Eastern District of Michigan, the
defendant, Carlieve Horton, did, knowing that he had been convicted of a crime
punishable by imprisonment for a term exceeding one year, knowingly possess a
firearm, that is, a Hi-Point Model C9, 9mm caliber pistol, said firearm having been

shipped and transported in interstate and foreign commerce; in violation of Title 18,

United States Code, Section 922(g)(1).
 

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FORFEITURE ALLEGATION
18 U.S.C. § 924(d) and 28 U.S.C. § 2461

The allegations contained in Count One of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461.

Upon conviction of the offense charged in Count One of this Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 924(d)(1)m and Title 28, United States Code, Section 2461, any firearm or

ammunition involved in said offenses, including but not limited to a Hi-Point Model

C9, 9mm caliber pistol.

Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of Defendant:

a.

b.

Cannot be located upon the exercise of due diligence;

Has been transferred or sold to, or deposited with, a third party;
Has been placed beyond the jurisdiction of the Court;

Has been substantially diminished in value; or

Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c).
 

vv

DAWN N. ISON
United States Attorney

s/ Benjamin Coats

BENJAMIN COATS

Chief, General Crimes Unit
Assistant United States Attorney

 

s/ Michael Taylor

MICHAEL TAYLOR

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P79497

Dated: March 3, 2022

 

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THIS IS A TRUE BILL

s/ Grand Jury Foreperson

 

GRAND JURY FOREPERSON
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United States District Court Criminal Gase Cove! ms
Eastern District of Michigan Case: 2:22-cr-20120

Judge: Parker, Linda V.

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accura’ MJ: Gra nd, David R

Filed: 03-03-2022 At 04:00 PM

  

 

   

 

 

 

_Compani elnformation = Compi
—— — INDI USA V CARLIEVE
This may be a companion case based on LCrR 57.10(b)(4)": HORTON (LG)
DYes MINo AUSA’s Initials: r\ 4

 

 

 

 

Case Title: USA v. CARLIEVE HORTON
County where offense occurred: Wa
Offense Type: Felony

Indictment -- based upon prior complaint [Case number: 21-mj-30506]

 

 

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable

 

orney of record for

Le

Please take notice that the below listed Assistant United States Attorney is the
the above captioned case

  

March 3, 2022 L
Date Midhael Taylor (© 7

Assistant United States Attorney
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Detroit, Ml 48226
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(313) 226-9516

‘ Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already

been terminated.
